Case: 4:06-cr-00135-RWS   Doc. #: 99   Filed: 08/10/06   Page: 1 of 7 PageID #: 224
Case: 4:06-cr-00135-RWS   Doc. #: 99   Filed: 08/10/06   Page: 2 of 7 PageID #: 225
Case: 4:06-cr-00135-RWS   Doc. #: 99   Filed: 08/10/06   Page: 3 of 7 PageID #: 226
Case: 4:06-cr-00135-RWS   Doc. #: 99   Filed: 08/10/06   Page: 4 of 7 PageID #: 227
Case: 4:06-cr-00135-RWS   Doc. #: 99   Filed: 08/10/06   Page: 5 of 7 PageID #: 228
Case: 4:06-cr-00135-RWS   Doc. #: 99   Filed: 08/10/06   Page: 6 of 7 PageID #: 229
Case: 4:06-cr-00135-RWS   Doc. #: 99   Filed: 08/10/06   Page: 7 of 7 PageID #: 230
